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                                   0001, 0002    BP DWH Accident Investigation Report and                Lirette, Calvert,
                                                 Appendices                                             McCormack, Woolie

BP-HZN-MBI-00021304 –                            Brian Morel Interview Notes                            McCormack, Calvert,
                                      0007
BP-HZN-MBI-00021347                                                                                          Woolie
                                      0025       Deepwater - The Gulf Oil Disaster and the Future of     Lirette, Calvert,
                                                 Offshore Drilling, Report to the President: National   McCormack, Woolie
                                                 Commission on the BP Deepwater Horizon Oil Spill
                                                 and Offshore Drilling (Chapter 4)
BP-HZN-2179MDL00057261 –                         GP 10-00 - Drilling and Well Operations Practice-E&P
BP-HZN-2179MDL00057372;                          Defined Operating Practice
                                      0093                                                                  McCormack
BP-HZN-BLY00163802 –
BP-HZN-BLY00408043
BP-HZN-2179MDL00373833 -                         BP Group Engineering Technical Practices, GP 10-35 -
BP-HZN-2179MDL00373852                0094       Well Operations: Group Practice - BP Group             McCormack, Woolie
                                                 Engineering Technical Practices
BP-HZN-2179MDL00269659 –                         BP Group Engineering Technical Practices, GP 10-60,
BP-HZN-2179MDL00269673;                          Zonal Isolation Requirements During Drilling           Lirette, McCormack,
                                      0184       Operations and Well Abandonment and Suspension
BP-HZN 2179MDL00057261 -                                                                                  Calvert, Woolie
BP-HZN-2179MDL00057372
BP-HZN-BLY00107700 –                  0186       Halliburton Macondo #1-9 7/8"X 7" Production Casing    Lirette, McCormack,
                                                 Design Report-For: Brian Morel (4/18/10)                      Calvert
BP-HZN-BLY00107732;


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HAL_0010988 - HAL_0011020
                                      0199       Photograph of Sand used by SES for testing of M45AP         Lirette
                                                 Float Collars
BP-HZN-2179MDL00408005 -              0215       BP Drilling and Well Operations Policies (“DWOP”):    Lirette, McCormack,
BP-HZN-2179MDL00408026                           GP 10-10 - Well Control: Group Practice - BP Group           Woolie
                                                 Engineering Technical Practices
BP-HZN-BLY00061629 –                             Jim McKay Handwritten Notes                           McCormack, Calvert,
                                      0358
BP-HZN-BLY00061643                               - Brian Morel Interview (5/10/10)                          Woolie
BP-HZN-OGR000735 –                               Application for Revised Bypass, (4/15/10)
                                      0404                                                                 McCormack
BP-HZN-OGR000747
BP-HZN-MBI00129108                    0547       Brian Morel ops notes                                 McCormack, Calvert
BP-HZN-2179MDL00161670                0566       Brian Morel ops notes                                 McCormack, Calvert
BP-HZN-2179MDL00330768 -                         Transocean Well Control Handbook
                                      0596                                                                   Woolie
BP-HZN-2179MDL00331163
HAL_0048973 - HAL_0048974                        Halliburton/Sperry Sun Chart (4/18/10 – 4/20/10)      Lirette, McCormack,
                                      0604
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HAL_CG0000515 –                                  N. Chaisson Tally Book                                McCormack, Calvert,
                                      0718
HAL_CG0000527                                                                                               Woolie
BP-HZN-CEC011406 –                               Halliburton Post Job Report-9 7/8” x 7” Foamed
BP-HZN-CEC011419;                                Production Casing Design Post Job Report (4/20/10)    Lirette, McCormack,
                                      0742
HAL_0011195;                                                                                             Calvert, Woolie
HAL_0028665 – HAL_0028678

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BP-HZN-2179MDL00360844 -                         BP Gulf of Mexico SPU Recommended Practice for
                                      0790                                                                McCormack, Calvert
BP-HZN-2179MDL00360865                           Cement Design and Operations in DW GoM
HAL_0502206 - HAL_0502242;                       National Commission on the BP Deepwater Horizon
TRN-INV-00790916 –                    0806       Oil Spill and Offshore Drilling Cement Testing Results   McCormack, Calvert
TRN-INV-00790953
BP-HZN-MBI00136946-                              Transocean IADC Daily Drilling Report (4/20/10)          McCormack, Calvert,
                                      0820
BP-HZN-MBI00136950                                                                                             Woolie
BP-HZN-MBI00199222 –                             BP Lead Impression Tool and Lock Down Sleeve
                                      0834       Running Procedure (4/13/10)                              McCormack, Calvert
BP-HZN-MBI00199253
BP-HZN-MBI 00128340 –                            BP’s GoM Exploration Wells-MC252#1 ST00BP01-             Lirette, McCormack,
                                      0841       Macondo Prospect- 7” x 9 7/8” Interval-April 15, 2010
BP-HZN-MBI 00128360                                                                                         Calvert, Woolie
                                      0986       Chief Counsel's Report 2011: National Commission on       Lirette, Calvert,
                                                 the BP Deepwater Horizon Oil Spill and Offshore          McCormack, Woolie
                                                 Drilling
BP-HZN-2179MDL00016162 –                         M-I Swaco Drilling Fluids Program                        McCormack, Calvert,
                                      1026
BP-HZN-2179MDL00016226                                                                                         Woolie
BP-HZN-2179MDL0000452101                         M-I Swaco Daily And Total Drilling Fluid Discharges,     McCormack, Calvert,
                                      1035
                                                 Losses And Recovering Volumes (spreadsheet)                   Woolie
BP-HZN-MBI00100386 –                             BP’s GoM Exploration Wells-MC252#1-Macondo
                                      1157       Prospect- 9 7/8” Casing Interval - January 2010          McCormack, Calvert
BP-HZN-MBI00100402
                                      1339       Application for Bypass, (3/15/10)                            McCormack


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HAL_0010699 - HAL_0010720                        Macondo #1 - 9 7/8" X 7" Production Casing Design   Lirette, McCormack,
                                      1388
                                                 Report For: Brian Morel (4/15/10)                          Calvert
BP-HZN-MBI00136940-                              Transocean IADC Daily Drilling Report (4/19/10)     McCormack, Calvert,
                                      1455
BP-HZN-MBI00136945                                                                                        Woolie
BP-HZN-2179MDL0044144,                           Sperry Sun Surface Time Log (4/20/10)
BP-HZN-2179MDL00417995 –
                                                                                                     Lirette, McCormack,
BP-HZN-2179MDL00417996;               1500
                                                                                                       Calvert, Woolie
BP-HZN-2179MDL00418722 –
BP-HZN-2179MDL00418723
BP-HZN-CEC022025-                                BP PowerPoint TD Forward Plan Review: Production
BP-HZN-CEC022038;                     1692       Casing and TA options (4/13/10)                         McCormack
BP-HZN-2179MDL00357044
BP-HZN-CEC022145 -                               BP TD Forward Plan Review: Production Casing        McCormack, Calvert,
                                      1699
BP-HZN-CEC022153                                 and TA Options (4/13/10)                                 Woolie
BP-HZN-2179MDL00249967-                          TA Procedure Rev. 2 from B. Morel                   McCormack, Calvert,
                                      1810
BP-HZN-2179MDL00249987                           (4/15/10)                                                Woolie
BP-HZN-MBI00126181;                              TA Procedure Rev. 1 from B. Morel (4/12/10)
                                                                                                     McCormack, Calvert,
BP-HZN-MDL00272297-                   1968
                                                                                                          Woolie
BP-HZN-MDL00272317
HAL_0010336 - HAL_0010354                        Macondo #1-9 7/8" X 7" Production Casing Design     Lirette, McCormack,
                                      2040
                                                 Report-For: Brian Morel (4/14/10)                          Calvert

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BP-HZN-BLY00130264 –                             Interview of Lee Lambert (with Handwritten Notes)       McCormack, Calvert,
                                      2158
BP-HZN-BLY00130268                               (4/29/10)                                                    Woolie
BP-HZN-BLY00061768 –                             V. Tabler Tally Book-From Tabler Interview (5/4/10)     McCormack, Calvert,
                                      3036
BP-HZN-BLY00061784                                                                                            Woolie
                                                 Schlumberger Triple Combo Log for Macondo Well,
                                      3540                                                               McCormack, Calvert
                                                 April 13, 2010
                                                 Schlumberger Laminated Sands Analysis, April 16,
                                      3541                                                               McCormack, Calvert
                                                 2010
TRN-INV-01747442                   3808, 4304    Transocean Investigation Report, June 2011, Volumes I    Lirette, Calvert,
                                                 and II                                                  McCormack, Woolie
BP-HZN-BLY00235651 -                             Application for Revised Bypass
                                      4006                                                                   McCormack
BP-HZN-BLY00235660
BP-HZN-SNR00000441 -                             Application for Revised Bypass, (4/14/10),
                                      4030                                                                   McCormack
BP-HZN-SNR00000450
BP-HZN-OGR000748 –                               Application for Revised Bypass, (4/15/10)
                                      4044                                                                   McCormack
BP-HZN-OGR000756
BP-HZN-CEC020266 –                               Brian Morel Interview (5/10/10)                         McCormack, Calvert,
                                      4506
BP-HZN-CEC020275                                                                                              Woolie
BP-HZN-CEC008683 -                               Application for Permit to Drill a New Well (5/13/09)
                                      4751                                                                   McCormack
BP-HZN-CEC008711
BP-HZN-2179MDL00001748 -              4752       Application for Revised Bypass (3/25/10)                    McCormack

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BP-HZN-2179MDL00001763
                                                 Oilfield Testing and Consulting Report – August 1,
                                      4897                                                                McCormack, Calvert
                                                 2011
                                                 United States Coast Guard/Bureau of Ocean Energy          Lirette, Calvert,
                                                 Management Regulation and Enforcement Joint              McCormack, Woolie
                                                 Investigative Team Report
TRN-INV-03406202 –                               Testing of Cementing Float: Prepared for Transocean      Lirette, McCormack
TRN-INV-03406252;                                Offshore Deepwater Drilling, Inc. Houston, TX, Stress
TRN-INV-01835310 –                               Engineering Services Inc. February, 2011
TRN-INV-01835316;
TRN-INV-01835138 –
TRN-INV-018351343;
TRN-INV-01818937 –
TRN-INV-01818945;
TRN-INV-01835135 –
TRN-INV-01835136;
TRN-INV-01818935 –
TRN-INV-01818936
BP-HZN-2179MDL00321876 -                         Horizon Incident Float Collar Study – Analysis, Report
BP-HZN-2179MDL00321995;                          PN 1101198 Prepared for: BP America Inc. Houston,        Lirette, McCormack,
WFT-MDL-00003610 –                               Texas, Stress Engineering Services Inc. November 22,            Calvert
                                                 2010
WFT-MDL-00003729
BP-HZN-BLY00126963 –                             Engineering Report on Testing of Weatherford M45AP       Lirette, McCormack,
BP-HZN-BLY00127217;                              Float Collar, Report PN 1751225 Prepared for: BP                Calvert


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WFT-MDL-00003370 –                               America Inc. Houston, Texas, Stress Engineering
                                                 Services Inc. November 22, 2010
WFT-MDL-00003609
TRN-INV-01859997 –                               George Birch, Review of Macondo #1 7” x 9-7/8”
                                                 Casing Cementation, April 7, 2011                         McCormack, Calvert
TRN-INV-01860055
TRN-INV-03291121 –                               Phil Rhae, Deepwater Horizon Macondo Blowout: A
TRN-INV-03291157                                 Review of Cement Design and Procedures, October 20,       McCormack, Calvert
                                                 2010
                                                 Expert Report of Brent Lirette, October 17, 2011                Lirette
BP-HZN-2179MDL00003541 -                         BP Daily Drilling Operations Report – Partners
BP-HZN-2179MDL00003545;                          (Completion) (4/16, 17, 18, 19/10)
BP-HZN-2179MDL00005433 –
BP-HZN-2179MDL00005438;                                                                                    Lirette, McCormack,
BP-HZN-2179MDL03426590 –                                                                                     Calvert, Woolie
BP-HZN-2179MDL03426594;
BP-HZN-2179MDL00004012 -
BP-HZN-2179MDL00004018;
BP-HZN-2179MDL00005249 -                         BP Daily Operations Report – Partners (Drilling), April
                                                                                                              McCormack
BP-HZN-2179MDL00005254                           9, 2010
BP-HZN-2179MDL00001095 -                         BP’s Initial Exploration Plan-Mississippi Canyon
                                                 Block 252-OCS-G 32306-February 2009                          McCormack
BP-HZN-2179MDL00001218
BP-HZN-CEC008714 –                               BP’s GoM Exploration Wells - MC252#1 - Macondo
                                                 Prospect-Well Information-September 2009                     McCormack
BP-HZN-CEC008726

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TRN-MDL-01534954 –                               BP Well Plan: September 2009 Drilling Program               Lirette
TRN-MDL-01535172
BP-HZN-2179MDL01313651-                          BP Well Plan: January 2010 Drilling Program                 Lirette
BP-HZN-2179MDL01313766
BP-HZN-CEC009003                                 TA Procedure Rev. 0 from B. Morel, et al. (1/27/10)   McCormack, Calvert,
                                                                                                            Woolie
BP-HZN-2179MDL00062905 -                         Application for Revised New Well (1/12/10)
                                                                                                           McCormack
BP-HZN-2179MDL00062912
BP-HZN-2179MDL00001449 -                         Application for Revised New Well (1/25/10)
                                                                                                           McCormack
BP-HZN-2179MDL00001456
BP-HZN-2179MDL00001333-                          Application for Permit to Modify (3/10/10)
                                                                                                           McCormack
BP-HZN2179MDL00001336
BP-HZN-2179MDL00526317 -                         Application for Permit to Modify, (4/16/10)
                                                                                                           McCormack
BP-HZN-2179MDL00526320
BP-HZN-MBI00129052                               Brian Morel email (4/20/10)                           McCormack, Calvert,
                                                                                                            Woolie
BP-HZN-BLY00103032 –                             BP Incident Investigation Team – Notes of Interview
                                                 with Mark Hafle July 8, 2010                          McCormack, Calvert
BP-HZN-BLY00103038
BP-HZN-2179MDL00044347 -                         April 13, 2010 Email from Robert Bodek to Michael
                                                                                                           McCormack
BP-HZN-2179MDL00044348                           Beirne re: Macondo TD
HAL_0010592 – HAL_0010611                        Halliburton Macondo #1 – 9 7/8”X7” Production         Lirette, McCormack,
                                                 Casing Design Report – For: Brian Morel (4/15/10)            Calvert
HAL_0010699 – HAL_0010720                        Halliburton 9 7/8"X 7" Production Casing Proposal           Lirette


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BP-HZN-CEC011444 –                               Halliburton 9 7/8"X 7" Production Casing Proposal         Lirette, McCormack,
                                                 (4/17/10)                                                        Calvert
BP-HZN-CEC011455
BP-HZN-CEC008381-008392                          Halliburton 9 7/8"X 7" Production Casing Proposal               Lirette
                                                 (4/18/10)
BP-HZN-CEC021441 –                               Halliburton 9 7/8” x 7” Production Casing report, April
                                                 18, 2010                                                  McCormack, Calvert
BP-HZN-CEC021452
HAL_0011210 – HAL_0011221                        Halliburton 9.875” x 7” Foamed Production Casing
                                                                                                           McCormack, Calvert
                                                 Post Job Report, April 20, 2010:
HAL_0478843                                      Sperry Drilling Services Daily Operations Report #79,
                                                                                                           McCormack, Calvert
                                                 April 20, 2010,
BP-HZN-BLY00132084                               Halliburton Realtime Data                                 McCormack, Calvert
BP-HZN-2179MDL00413137                           April 21, 2010 e-mail from Lee Lambert                    McCormack, Calvert,
                                                                                                                Woolie
HAL_0011208 - HAL_0011209                        N. Chaisson e-mail to J. Gagliano April 20, 2010 5:45     McCormack, Calvert,
                                                 a.m. with attached report                                      Woolie
WFT-MDL-00000037 –                               Weatherford Tubular Running Services Running Log               Lirette
WFT-MDL-00000043                                 for the Production Casing String Installed on the
                                                 Macondo Well, 4/17/2010
WFT-MDL-00134920                                 Weatherford Post-Incident API RP 10F Category III C             Lirette
                                                 Test on 7” Model M45AP Float Collar - Results of API
                                                 Performance Tests on Cementing Float Equipment
WFT-MDL-00134921 –                               Weatherford Post-Incident API RP 10F Category III C             Lirette


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WFT-MDL-00134940                                 Test on 7” Model M45AP Float Collar - Weatherford
                                                 Lab Test Report, Report Number: ERPT-642, 7”
                                                 Model M45AP Float Collar, Category IIIC Test
                                                 Performed per API RP 10F, Project Number: P15501,
                                                 4/7/11
                                                 Weatherford Post – Incident Simulation Test Regarding      Lirette
WFT-MDL-00134941                                 Conversion of Float Collar: Graph of Flow through
                                                 Auto-Fill Tube v. FC with SurgeMod (1)
WFT-MDL-00134942                                 Weatherford Post – Incident Simulation Test Regarding      Lirette
                                                 Conversion of Float Collar: Graph of Flow through
                                                 Auto-Fill Tube v. FC with SurgeMod (2)
WFT-MDL-00134943 –                               Weatherford Post – Incident Simulation Test Regarding      Lirette
WFT-MDL-00134951                                 Conversion of Float Collar: SurgeMOD_WD – Surge
                                                 and Swab Hydraulics Model (1), Hydraulics Analysis
                                                 of BP Macondo 9-5/8” x 7” Liner
WFT-MDL-00134952 –                               Weatherford Post – Incident Simulation Test Regarding      Lirette
WFT-MDL-00134960                                 Conversion of Float Collar: SurgeMOD_WD – Surge
                                                 and Swab Hydraulics Model (2), Hydraulics Analysis
                                                 of BP Macondo 9-5/8” x 7” Liner
WFT-MDL-00134961 –                               Weatherford Post – Incident Simulation Test Regarding      Lirette
WFT-MDL-00134969                                 Conversion of Float Collar: SurgeMOD_WD – Surge
                                                 and Swab Hydraulics Model (3), Hydraulics Analysis
                                                 of BP Macondo 9-5/8” x 7” Liner
WFT-MDL-00134970 –                               Weatherford Post – Incident Simulation Test Regarding      Lirette
WFT-MDL-00134978                                 Conversion of Float Collar: SurgeMOD_WD – Surge
                                                 and Swab Hydraulics Model (4), Hydraulics Analysis

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WFT-MDL-00134979 –                               Weatherford Post – Incident Simulation Test Regarding      Lirette
WFT-MDL-00134987                                 Conversion of Float Collar: SurgeMOD_WD – Surge
                                                 and Swab Hydraulics Model (5), Hydraulics Analysis
                                                 of BP Macondo 9-5/8” x 7” Liner
WFT-MDL-00134988 –                               Weatherford Post – Incident Simulation Test Regarding      Lirette
WFT-MDL-00134996                                 Conversion of Float Collar: SurgeMOD_WD – Surge
                                                 and Swab Hydraulics Model (6), Hydraulics Analysis
                                                 of BP Macondo 9-5/8” x 7” Liner
WFT-MDL-00134997 –                               Weatherford Post – Incident Simulation Test Regarding      Lirette
WFT-MDL-00135005                                 Conversion of Float Collar: SurgeMOD_WD – Surge
                                                 and Swab Hydraulics Model (7), Hydraulics Analysis
                                                 of BP Macondo 9-5/8” x 7” Liner
WFT-MDL-00135006 –                               Weatherford Post – Incident Simulation Test Regarding      Lirette
WFT-MDL-00135014                                 Conversion of Float Collar: SurgeMOD_WD – Surge
                                                 and Swab Hydraulics Model (8), Hydraulics Analysis
                                                 of BP Macondo 9-5/8” x 7” Liner
WFT-MDL-00135015 –                               Weatherford Post – Incident Simulation Test Regarding      Lirette
WFT-MDL-00135023                                 Conversion of Float Collar: SurgeMOD_WD – Surge
                                                 and Swab Hydraulics Model (9), Hydraulics Analysis
                                                 of BP Macondo 9-5/8” x 7” Liner
WFT-MDL-00135024 –                               Weatherford Post – Incident Simulation Test Regarding      Lirette
WFT-MDL-00135032                                 Conversion of Float Collar: SurgeMOD_WD – Surge
                                                 and Swab Hydraulics Model (10), Hydraulics Analysis
                                                 of BP Macondo 9-5/8” x 7” Liner
WFT-MDL-00135033 –                               Weatherford Post – Incident Simulation Test Regarding      Lirette

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WFT-MDL-00135041                                 Conversion of Float Collar: SurgeMOD_WD – Surge
                                                 and Swab Hydraulics Model (11), Hydraulics Analysis
                                                 of BP Macondo 9-5/8” x 7” Liner
WFT-MDL-00135042 –                               Weatherford Post – Incident Simulation Test Regarding         Lirette
WFT-MDL-00135050                                 Conversion of Float Collar: SurgeMOD_WD – Surge
                                                 and Swab Hydraulics Model (12), Hydraulics Analysis
                                                 of BP Macondo 9-5/8” x 7” Liner
WFT-MDL-00135051 –                               Weatherford Post – Incident Simulation Test Regarding         Lirette
WFT-MDL-00135059                                 Conversion of Float Collar: SurgeMOD_WD – Surge
                                                 and Swab Hydraulics Model (13), Hydraulics Analysis
                                                 of BP Macondo 9-5/8” x 7” Liner
WFT-MDL-00135060 –                               Weatherford Post – Incident Simulation Test Regarding         Lirette
WFT-MDL-00135063                                 Conversion of Float Collar: Orifice Pressure Drop
                                                 Chart
WFT-MDL-00135064 –                               Weatherford Post – Incident Simulation Test Regarding         Lirette
WFT-MDL-00135065                                 Conversion of Float Collar: Materials Specification,
                                                 Design Based Materials Specification – Copper Based
                                                 Alloy Shear Products for Liner Systems Applications
WFT-MDL-00135066 –                               Weatherford Post – Incident Simulation Test Regarding         Lirette
WFT-MDL-00135068                                 Conversion of Float Collar: Testing Specifications,
                                                 Inspection and Testing for Weatherford Brass and
                                                 Aluminum Shear Screws
WFT-MDL-00022635 –                               4/1/10 Weatherford Delivery Ticket re: Reamer Shoe,
                                                 Float Collar and Centralizer Subs                       McCormack, Calvert
WFT-MDL-00022636
WFT-MDL-00089857                                 Thread Certification for Reamer Shoe, Stewart Tubular         Lirette


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                                                        MDL 2179
                                   Deposition
              Bates No.              Ex. No.                      Subject/Description               Expert Report
           (if applicable)             (if
                                   applicable)
                                                 Products, 1/26/10
WFT-MDL-00134904 –                               MTRs for Reamer Shoe                                  Lirette
WFT-MDL-00134909
WFT-MDL-00003280 –                               Part List and Assembly Drawing for Reamer Shoe        Lirette
WFT-MDL-00003281
WFT-MDL-00003282 –                               QA/QC Documents for Weatherford Reamer Shoe           Lirette
WFT-MDL-00003285
WFT-MDL-00003240 –                               QA/QC Documents for Weatherford Centralizer Subs      Lirette
WFT-MDL-00003258                                 Manufactured for Nexen Petroleum

BP-HZN-BLY00130779 –                             Parts List and Assembly Drawings for Bow Spring       Lirette
BP-HZN-BLY00130780;                              Centralizer Subs
BP-HZN-BLY00132294;
WFT-MDL-00003320 –
WFT-MDL-00003322
BP-HZN-BLY00129074 –                             QA/QC and Manufacturing Procedures for SSR Plug       Lirette
BP-HZN-BLY00129096;                              Set
WFT-MDL-00003296 –
WFT-MDL-00003319
BP-HZN-BLY00129069 –                             Invoice for sale to BP in April 2010 (Plug Set)       Lirette
BP-HZN-BLY00129071;
WFT-MDL-00003291 –
WFT-MDL-00003293
BP-HZN-BLY00129072-                              Certificates of Compliance (Plug Set)                 Lirette
BP-HZN-BLY00129073;
WFT-MDL-00003294 –

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                                   Deposition
              Bates No.              Ex. No.                      Subject/Description                    Expert Report
           (if applicable)             (if
                                   applicable)
WFT-MDL-00003295
WFT-MDL-00003289 –                               Air Freight of SSR Plugs                                    Lirette
WFT-MDL-00003290
WFT-MDL-00003287 –                               Part List and Assembly Drawing for the WFT SSR              Lirette
WFT-MDL-00003288                                 Plug Set

WFT-MDL-00134874 –                               Weatherford Technical Unit, Dual Wiper Plug           Lirette, McCormack,
WFT-MDL-00134897                                 Cementing Systems DWPNR System, March 25, 2010               Calvert
WFT-MDL-00003237 –                               QA/QC Documents for the Manufacturing of the                Lirette
WFT-MDL-00003259;                                M45AP Auto Fill Float Collar for Nexen Petroleum in
WFT-MDL-00003270 –                               February 2010 Including Nexen’s Manufacturing
WFT-MDL-00003279;                                Requirements
WFT-MDL-00134898 –
WFT-MDL-00134903
WFT-MDL-00003260 –                               Delivery and Inspection Documents for Nexen Float           Lirette
WFT-MDL-00003269;                                Equipment Sold to BP
WFT-MDL-00000433 –
WFT-MDL-00000437
WFT-MDL-00003326 –                               Part List and Assembly Drawing for M45AP Auto Fill          Lirette
WFT-MDL-00003328                                 Float Collar

WFT-MDL-00134870 –                               Weatherford Work Order Router for the Manufacture           Lirette
WFT-MDL-00134873                                 of the M45AP Auto Fill Float Collar for Nexen
                                                 Petroleum in February 2010
WFT-MDL-00020485 –                               Weatherford Product Literature, Flow-Activated Mid-   Lirette, McCormack,


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                                                        MDL 2179
                                   Deposition
              Bates No.              Ex. No.                      Subject/Description                      Expert Report
           (if applicable)             (if
                                   applicable)
WFT-MDL-00020491;                                Bore Auto-Fill Float Collar Model M45A0, Rev.                Calvert
BP-HZN-MBI00129226 –                             09/19/2003, File M45AO-TU
BP-HZN-MBI00129232

WFT-MDL-00000037 –                               Weatherford JAM Pro Job Report, April 18, 2010          Lirette, McCormack
WFT-MDL-00000360
NEX000080                                        Nexen Petroleum’s Inspection Documentation for 7”             Lirette
                                                 Float Equipment and Centralizers Manufactured by
                                                 Weatherford
WFT-MDL-00134916 –                               Material Specs for Brass Sheer Screws in Float Collar         Lirette
WFT-MDL-00134917;
WFT-MDL-00135090 –
WFT-MDL-00135094;
WFT-MDL-00000851 –                               Weatherford Cementation File for Cementation                  Lirette
WFT-MDL-00000869;                                Products Sold or Provided to BP for the Macondo Well
WFT-MDL-00019995 –
WFT-MDL-00020000;
WFT-MDL-00020323;
WFT-MDL-00022378;
WFT-MDL-00022382 –
WFT-MDL-00022735;
WFT-MDL-00027834;
WFT-MDL-00029197 –
WFT-MDL-00029198;
WFT-MDL-00029207;
WFT-MDL-00030338 –

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                                                   Reliance Exhibit List
                                                        MDL 2179
                                   Deposition
              Bates No.              Ex. No.                     Subject/Description                    Expert Report
           (if applicable)             (if
                                   applicable)
WFT-MDL-00030339;
WFT-MDL-00030343 –
WFT-MDL-00030344;
WFT-MDL-00030350 –
WFT-MDL-00030351;
WFT-MDL-00030354;
WFT-MDL-00031769 –
WFT-MDL-00031771;
WFT-MDL-00031772 –
WFT-MDL-00031774;
WFT-MDL-00037941 –
WFT-MDL-00037946;
WFT-MDL-00132152;
BP-HZN-2179MDL00042371
WFT-MDL-00019248 –                               Weatherford Cementation File for Cementation              Lirette
WFT-MDL-00019252;                                Products Sold or Provided to BP for the Macondo Well
WFT-MDL-00134913 –                               (January 2010 Emails)
WFT-MDL-00134915
WFT-MDL-00019253 –                               Weatherford Cementation File for Cementation              Lirette
WFT-MDL-00019293;                                Products Sold or Provided to BP for the Macondo Well
WFT-MDL-00020054 –                               (February 2010 Emails)
WFT-MDL-00020055
WFT-MDL-00005528 –                               Weatherford Cementation File for Cementation              Lirette
WFT-MDL-00005530;                                Products Sold or Provided to BP for the Macondo Well
WFT-MDL-00005480 –                               (March 2010 Emails)
WFT-MDL-00005488;

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                                                   Reliance Exhibit List
                                                        MDL 2179
                                   Deposition
              Bates No.              Ex. No.                     Subject/Description                    Expert Report
           (if applicable)             (if
                                   applicable)
WFT-MDL-00019303 –
WFT-MDL-00019422;
WFT-MDL-00020286 –
WFT-MDL-00020292;
WFT-MDL-00020022 –
WFT-MDL-00020028;
WFT-MDL-00017436;
WFT-MDL-00007873 –
WFT-MDL-00007875;
WFT-MDL-00029733 –
WFT-MDL-00029735;
WFT-MDL-00020008 –
WFT-MDL-00020010;
WFT-MDL-00017464 –
WFT-MDL-00017465;
WFT-MDL-00020323 –
WFT-MDL-00020325
WFT-MDL-00019423 –                               Weatherford Cementation File for Cementation              Lirette
WFT-MDL-00019570;                                Products Sold or Provided to BP for the Macondo Well
WFT-MDL-00019992 –                               (April 2010 Emails)
WFT-MDL-00019994;
WFT-00019970 –
WFT-MDL-00019972;
WFT-MDL-00005603;
WFT-MDL-00131961 –
WFT-MDL-00131965


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                                                        MDL 2179
                                   Deposition
              Bates No.              Ex. No.                     Subject/Description                  Expert Report
           (if applicable)             (if
                                   applicable)
NEX000213 - NEX000216                            Documents Related to Nexen’s Sale of Production         Lirette
                                                 Casing and Float Equipment to BP
WFT-MDL-00022695                                 Documents Related to Nexen’s Sale of Production         Lirette
                                                 Casing and Float Equipment to BP: Nexen Customer
                                                 Owned Stock
NEX000226 – NEX000236;                           Documents Related to Nexen’s Sale of Production         Lirette
BP-HZN-2179MDL00246773;                          Casing and Float Equipment to BP: Purchase Orders
BP-HZN-2179MDL00246775;
BP-HZN-CEC021964;
BP-HZN-MBI 00116367;
BP-HZN-MBI 00116369;
BP-HZN-2179MDL00398915
BP-HZN-CEC021880 –                               Documents Related to Nexen’s Sale of Production         Lirette
BP-HZN-CEC021882;                                Casing and Float Equipment to BP: Emails Regarding
BP-HZN-CEC021948 –                               BP’s Purchase of Nexen Production Casing, Float
BP-HZN-CEC021949;                                Equipment, and Centralizers
WFT-MDL-00022569
WFT-MDL-00005576 –
WFT-MDL-00005578;
WFT-MDL-00019365 –
WFT-MDL-00019368;
WFT-MDL-00019379;
WFT-MDL-00019393 –
WFT-MDL 00019396;
WFT-MDL-00019384 –
WFT-MDL 00019386;


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                                   Deposition
              Bates No.              Ex. No.                      Subject/Description                     Expert Report
           (if applicable)             (if
                                   applicable)
BP-HZN-2179MDL00011017 –
BP-HZN-2179MDL00011018;
WFT-MDL 00020323 –
WFT-MDL 00020325;
BP-HZN-2179MDL00042371;
BP-HZN-BLY00065950 –
BP-HZN-BLY00065955;
NEX000213-NEX000216                              Documents Related to Nexen’s Sale of Production             Lirette
                                                 Casing and Float Equipment to BP: Nexen Petroleum
                                                 letter to BP re: sale of production casing and float
                                                 equipment (3/30/10)
NEX000226 - NEX000236                            Documents Related to Nexen’s Sale of Production             Lirette
                                                 Casing and Float Equipment to BP: 3/30/10 Purchase
                                                 Order from Nexen
NEX000080                                        Documents Related to Nexen’s Sale of Production             Lirette
                                                 Casing and Float Equipment to BP: Nexen Petroleum
                                                 U.S.A. Inc. Inspection QA/QC Release
BP-HZN-MBI00116633                               Documents Related to Nexen’s Sale of Production             Lirette
                                                 Casing and Float Equipment to BP: Nexen Customer
                                                 Owned Stock
BP-HZN-2179MDL00246773                           BP’s Requisition of Nexen’s 7” x 9 7/8” Production
                                                                                                           McCormack
                                                 Casing
WFT-MDL-00134836 –                               Quality and Traceability documentation (QA                  Lirette
WFT-MDL-00134869                                 documents) for manufacture of 10 float collars sent to


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                                   Deposition
              Bates No.              Ex. No.                      Subject/Description                    Expert Report
           (if applicable)             (if
                                   applicable)
                                                 Stress Engineering for BP testing post incident
BP-HZN-2179MDL00002769-                          Wireline Logging Diary – Macando MC252 #1 BP01 –           Lirette
BP-HZN-2179MDL00002775                           Run1

WFT-MDL-00135095                                 Macondo BP_Time SDL_4-21-2010.zip (notepad file)           Lirette
BP-HZN-2179MDL02216966 -                         Recommended Practice for Performance Testing of            Lirette
BP-HZN-2179MDL02216989                           Cementing Float Equipment, API Recommended
                                                 Practice 10F, Third Edition, April 2002.
BP-HZN-2179MDL00315029                           Photograph of 15 Slip On Centralizers Delivered to         Lirette
                                                 Deepwater Horizon Rig
WFT-MDL-00135096-                                Assembly drawings for 7” Rotating Slip On                  Lirette
WFT-MDL-00135097                                 Centralizers and Stop Collar

                                                 Photograph of the exterior of a fully assembled float      Lirette
                                                 collar (Figure 4 to Lirette Expert Report)
                                                 Photographs of the internal components of an exemplar      Lirette
                                                 Float Collar (Figures 5A – 5C to Lirette Expert
                                                 Report)
                                                 Photographs of Reamer Shoe and Internal Baffle Plate       Lirette
                                                 (Figures 7-8 to Lirette Expert Report)
                                                 Photograph of exemplar centralizer sub (Figure 10 to       Lirette
                                                 Lirette Expert Report)
                                                 Photograph of Auto-Fill Tube Shear Screws (Figure 39       Lirette
                                                 to Lirette Expert Report)


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